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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               8:14CR51
                Plaintiff,
     vs.
                                                        ORDER
ADAN ZUNIGA-PEREZ,
                Defendant.


    IT IS ORDERED that:

    1.     The defendant's unopposed Motion to Continue Sentencing (filing
           89) is granted.

    2.     Defendant Adan Zuniga-Perez's sentencing is continued to
           January 16, 2015, at 3:00 p.m., before the undersigned United
           States District Judge, in Courtroom No. 1, Roman L. Hruska
           Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
           The defendant shall be present at the hearing.

    Dated this 5th day of November, 2014.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
